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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

FCSTONE MERCHANT SERVICES,                     §
LLC                                            §
                                               §
Plaintiff,                                     §
                                               §
v.                                             §       Civil Action No. 4:20-cv-03693
                                               §
SGR ENERGY, INC., ST SHIPPING &                §
TRANSPORT PTE LTD, and THOMAS                  §
SAN MIGUEL, individually,                      §
                                               §
Defendants.                                    §

     NOTICE OF DISMISSAL OF SGR ENERGY, INC.’S BANKRUPTCY ACTION AND
                     TERMINATION OF AUTOMATIC STAY

TO THE HONORABLE UNITED STATES DISTRICT COURT:

        Plaintiff, FCStone Merchant Services, LLC (“FMS”), files this Notice of Dismissal of SGR

Energy, Inc.’s Bankruptcy Action and Termination of Automatic Stay, and respectfully states as

follows:

        1.     On November 17, 2021, SGR Energy Inc. (“SGR”) filed a Notice of Suggestion of

Bankruptcy [Dkt. No. 60], wherein SGR advised this Court that it filed for Bankruptcy in the

United States Bankruptcy Court for the Southern District of Texas, Victoria Division styled as In

re SGR Energy, Inc., Case No. 21-60090 (CML) (the “Bankruptcy Action”).

        2.     As a result of the Bankruptcy Action and pursuant to Title 11 U.S.C. § 101, this

Court entered an order staying this lawsuit on November 30, 2021 (the “Stay”) Dkt. No. 61.

        3.     The Bankruptcy Action was dismissed on January 21, 2022. See Bankruptcy Action

Order Dismissing Case, attached hereto as Exhibit A.




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           4.    As a result of the dismissal of the Bankruptcy Action, the Stay is terminated as a

matter of law. See Williams v. Countrywide Home Loans, Inc., 504 F. Supp. 2d 176, 194 (S.D.

Tex. 2007) (“A bankruptcy court’s dismissal of a bankruptcy proceeding terminates the automatic

stay.”).

           5.    Pursuant to the Court’s directives, and due to the impact of the Stay on discovery

efforts, expert and trial deadlines in this lawsuit, FMS is working with Defendants to prepare and

submit an amended proposed scheduling order with new deadlines to govern this lawsuit.

           WHEREFORE, PREMISES CONSIDERED, FMS respectfully requests that this Court

take notice that SGR’s Bankruptcy Action has been dismissed, which terminates the Stay as a

matter of law, and for all other relief, at law or in equity, to which FMS may be justly entitled.

Dated this 8th day of February, 2022                  Respectfully submitted,
                                                      /s/ Yasser A. Madriz
                                                      Yasser A. Madriz (lead attorney)
                                                      State Bar No. 24037015
                                                      Federal Bar No. 39080
                                                      ymadriz@mcguirewoods.com
                                                      Miles O. Indest
                                                      State Bar No. 24101952
                                                      Federal Bar No. 3070349
                                                      mindest@mcguirewoods.com
                                                      MCGUIREWOODS LLP
                                                      600 Travis Street, Suite 7500
                                                      Houston, Texas 77002
                                                      T: 713-353-6681
                                                      F: 832-255-6381




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                                                     Addison E. Fontein
                                                     State Bar No. 24109876
                                                     Federal Bar No. 3530304
                                                     afontein@mcguirewoods.com
                                                     MCGUIREWOODS LLP
                                                     2000 McKinney Ave., Suite 1400
                                                     Dallas, Texas 75201
                                                     T: 214-932-6436
                                                     F: 469-372-3891

                                                     ATTORNEYS FOR PLAINTIFF,
                                                     FCSTONE MERCHANT SERVICES,
                                                     LLC



                                CERTIFICATE OF SERVICE

       I hereby certify that on February 8, 2022, a true and correct copy of the foregoing document
was served via ECF to:

Brendon Dane Singh
Tran Singh, LLP
2502 La Branch Street
Houston, Texas 77004
brendon.singh@ctsattorneys.com
Tel.: (832) 975-7300
Fax: (832) 975-7301
Attorneys for Defendants, SGR Energy, Inc. and
Thomas San Miguel

Robert C. Oliver
Sharpe & Oliver, LLP
5535 Memorial Drive, No. F570
Houston, Texas 77007
macknife@macknife.net




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John R. Keough, III (admitted Pro Hac Vice)
George Cornell (admitted Pro Hac Vice)
Clyde & Co. US LLP
405 Lexington Avenue
New York, New York
John.Keough@clydeco.us
George.Cornell@clydeoco.us
Attorneys for Defendant,
ST Shipping & Transport PTE LTD

                                                  /s/ Yasser A. Madriz
                                                  Yasser A. Madriz




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